             Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 1 of 8




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

NCS MULTISTAGE INC.,

                 Plaintiff,
                                              CIVIL ACTION NO. 6:20-CV-00277-ADA
       v.
                                                   JURY TRIAL DEMANDED
NINE ENERGY SERVICE, INC.,

                 Defendant.


     DEFENDANT NINE ENERGY SERVICE, INC.’S REPLY BRIEF IN FURTHER
            SUPPORT OF NINE’S MOTION TO TRANSFER VENUE




US 7284833
        Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 2 of 8
Defendant Nine Energy Service, Inc.’s Reply in Support of Nine’s Motion to Transfer Venue


I.     PRELIMINARY STATEMENT

       The Houston division of SDTX is clearly more convenient for this dispute between

Houstonians. NCS Multistage Inc.’s (“NCS”) opposition brief has failed to point to a single

witness, document, or thing relevant to this case within 100 miles of the Waco courthouse, or

within the Waco division.     Further, NCS attempts to deny the undisputable fact that it is

headquartered in Houston. NCS’s arguments regarding consolidation are also flawed, as such a

consolidation with recently-filed complaints would substantially delay the resolution of this case.

Finally, NCS identifies no reason why jurors in the Waco division should be burdened with

deciding issues that do not concern them. In sum, Nine Energy Services, Inc. (“Nine”) respectfully

submits that NCS’s arguments do nothing to undercut Nine’s clear demonstration that this case

should be transferred to the Houston division of SDTX.

I.     ARGUMENT

       This is a dispute between Houstonians. NCS’s protestations to the contrary should be

rejected. Despite what NCS has argued in its opposition brief, NCS has admitted that its

“worldwide headquarters” are in Houston. Dkt. 18, at ¶ 2. NCS has further alleged seven times in

signed pleadings that its “worldwide headquarters” are in Houston. Ex. B, at ¶ 8. NCS further

admits that its corporate executives are shared with Houston-based NCS Multistage, LLC. Dkt.

28, at 7 n.6. It is therefore beyond reasonable dispute that NCS’s principal place of business, or

“worldwide headquarters,” is in Houston. See Hertz Corp. v. Friend, 559 U.S. 77, 80-81 (2010).

       A.    The Vast Majority of Discoverable Evidence is Available in Houston,
       Weighing In Favor of Transfer.

       Under the first Volkswagen factor, the relevant analysis is the relative ease of access to

documents and physical evidence as between the transferor and transferee venues. Fintiv, Inc. v.

Apple Inc., No. 6:18-cv-00372-ADA, 2019 WL 4743678, at *2 (W.D. Tex. Sept. 13, 2019) (citing




NCS Multistage, Inc. v. Nine Energy Service, Inc. No. 6:20-cv-00277-ADA                          1
        Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 3 of 8
Defendant Nine Energy Service, Inc.’s Reply in Support of Nine’s Motion to Transfer Venue


In re Volkswagen of Am., Inc., 545 F.3d 304, 316 (5th Cir. 2008) (“Volkswagen II”)); cf. Dkt. 28,

at 7. Factor 1 does not consider the availability of witnesses as NCS argues, rather, those are

considered under factors 2 and 3. See Volkswagen II, 545 F.3d at 316. Since Volkswagen II, no

appellate court applying Fifth Circuit law has ever considered the location of witnesses under

Factor 1. See, e.g., In re Radmax, Ltd., 720 F.3d 285, 288 (5th Cir. 2013). This Court should

therefore reject NCS’s attempt to shoehorn inapposite considerations into the Factor 1 analysis.

       In view of this, Factor 1 weighs heavily in favor of transfer. All of Nine’s discoverable

documents are accessible by Nine’s IT staff from Nine’s offices in Houston, who will coordinate

any document productions. Ex. A, at ¶ 8. In contrast, NCS has failed to identify a single

discoverable document located in the Waco division. NCS instead assumes that “key documents”

including “sales documents, operation documents, [and] technical documents” are in Midland.

Dkt. 28, at 8. NCS provides no evidence for this assertion, and thus it should be rejected. As the

vast majority of Nine’s discoverable evidence is in Houston, and NCS has failed to identify any

substantial documents or evidence anywhere in WDTX, this factor weighs strongly in favor of

transfer. Dkt. 24, at 5-6. Nonetheless, even if witnesses are considered, Houston is still the more

convenient venue, as discussed in the following sections.

       B.     Both Parties Have Identified Nonparty Witnesses in Houston, Weighing in
       favor of Transfer.

       NCS has failed to identify any relevant nonparties within the absolute subpoena power of

the Waco division. Instead, NCS has now expressly identified an entire category of non-parties

that it intends to subpoena – Nine’s customers. See Dkt. 28, at 4. Many of these customers are

within the absolute subpoena power of the Houston division, and Nine does not anticipate that any

will produce witnesses absent a court order. Ex. A, at ¶ 11. NCS has not identified any customers

in WDTX. Further, Nine expects to take discovery from Mr. Harris, who is the sole inventor



NCS Multistage, Inc. v. Nine Energy Service, Inc. No. 6:20-cv-00277-ADA                            2
        Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 4 of 8
Defendant Nine Energy Service, Inc.’s Reply in Support of Nine’s Motion to Transfer Venue


employed by another defendant to NCS’s patent claims.1 Nine expects that a subpoena will be

necessary to secure his attendance.2 As both parties have now identified non-party witnesses

subject to the subpoena power of the Houston division, and none subject to that same power of the

Waco division, this factor strongly weighs in favor of transfer.

        C.      The Convenience of Willing Witnesses Weighs in Favor of Transfer.

        The convenience of willing witnesses clearly favors transfer to Houston. As a preliminary

matter, the convenience of party witnesses is a core consideration under the section 1404 analysis.

In re Genentech, 566 F.3d 1338, 1345 (Fed. Cir. May 22, 2009); 28 U.S.C. § 1404(a) (“For the

convenience of parties”) (emphasis added). This factor is relevant even if some witnesses must

travel internationally. See id. at 1344-45 (rejecting arguments that all witnesses must be in the

transferee district to favor transfer).3

        NCS has identified no witnesses in the Waco division, and instead relies only on its CEO,

Mr. Nipper, who resides in the Austin division, and unidentified witnesses of Nine in Midland.

See Dkt. 28, at 9-10. Nine has established that it has no senior engineering or technical employees

in WDTX, and thus does not anticipate that any of its Midland employees will be relevant

witnesses here. Ex. A, at ¶ 9. Even if NCS insists that such witnesses be deposed, Nine will

produce its employees for deposition at its corporate headquarters in Houston. Id. at ¶ 10.

        In contrast, Houston is more convenient for Mr. McLean, who lives in Houston, and Ms.


1
 NCS Multistage, Inc. v. Packers Plus Energy Servs. Inc., No. 6:20-cv-00700-ADA (W.D. Tex.
July 30, 2020).
2
 Mr. Harris is subject to the absolute subpoena power of the Houston division of SDTX at least
because his place of employment is located within 25 miles of SDTX. Ex. B, at ¶ 9. See Fed. R.
Civ. P. 45(c)(A).
3
  Waco is not a convenient midpoint. Distance traveled is only a presumptive measure of the
time and costs of travel. Volkswagen II, 545 F.3d at 317. But here, air travel to Houston is
substantially less expensive in both time and money than to Waco. Ex. B, at ¶ 11.



NCS Multistage, Inc. v. Nine Energy Service, Inc. No. 6:20-cv-00277-ADA                          3
        Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 5 of 8
Defendant Nine Energy Service, Inc.’s Reply in Support of Nine’s Motion to Transfer Venue


Sloma, who lives in SDTX and closer to Houston, both of whom are likely to testify on sales and

related financial matters. Ex. A., at ¶ 9. Houston is also more convenient for Viggo Brandsdal,

who will testify on technical issues, and lives in Norway. Dkt. 24-1, Ex. A, at ¶¶ 21-22.4

         On balance, NCS has identified one witness in WDTX, who resides outside this division,

and whose preferences NCS insists should be treated with “skepticism.” Dkt. 28, at 9 n.7. Yet

Houston would be more convenient for all of Nine’s expected witnesses, including any in Midland,

and any remaining witnesses identified by NCS have expressed no preference between venues.

Houston is therefore by far the more convenient venue for the witnesses.

         D.    Consolidation of Other NCS Cases Weigh In Favor of Transfer Under
         Factors 4 and 5.

         If the Court consolidates the other cases filed by NCS, such consolidation does not weigh

against transfer because it would significantly delay resolution of this case. NCS has not even

served all of its complaints. Ex. B, at ¶ 12. Even if served today, a consolidated proceeding would

not come to trial until May 24, 2022. Id. at ¶ 13. In contrast, under the SDTX proposed scheduling

order, this case could be tried more than five months earlier - by January 14, 2022. Id. at ¶ 14.

Thus, any consolidation would substantially delay resolution of this case.

         Further, none of the complaints in the other five pending cases allege any connection to the

Waco division. For this reason, motions to dismiss or transfer for venue issues are more likely.

For example, both TCO Products, Inc. and Arsenal, Inc. have now filed motions to dismiss for

improper venue, identifying Houston as the appropriate venue. NCS Multistage Inc. v. TCO AS,

No. 6:20-cv-00622-ADA, Dkt. 21, at 4, Dkt. 22, at 5 (W.D. Tex. Sept. 3, 2020).

         Indeed, NCS has alleged that the principal place of business for all but four defendants is



4
    Even if witnesses are called from Midland, Houston is still more convenient. See supra note 3.



NCS Multistage, Inc. v. Nine Energy Service, Inc. No. 6:20-cv-00277-ADA                              4
        Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 6 of 8
Defendant Nine Energy Service, Inc.’s Reply in Support of Nine’s Motion to Transfer Venue


in the Houston division. Ex. B, at ¶ 15. None are in the Waco division. Id. To the extent these

cases are consolidated anywhere, they should be consolidated in Houston. In short, motions to

dismiss or transfer are likely as no defendants are located in the Waco division (two of which have

already been filed), and any consolidation would substantially delay resolution of this case.

Therefore factors 4 and 5 are neutral or weigh slightly in favor of transfer.

       E.     The Local Interests of the Houston Division of SDTX are substantially
       greater than those in the Waco Division of WDTX Under Factor 6.

       The local interests of the Houston division substantially outweigh any alleged interest of

the Waco division. The Supreme Court has expressly held that local interests are tied to the burdens

of jury service. Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508-10 (1947). In applying that standard,

the Fifth Circuit considers the local interests of divisions, even among separate districts.

Volkswagen II, 545 F.3d at 317-18 (comparing interests of the Dallas division of NDTX and the

Marshall division of EDTX).5

       It is undisputed that any venire panel in this case would be drawn solely from jurors in the

Waco division, which NCS has failed to show have any interest in this case at all. Indeed, Nine

has not delivered a single accused product in the Waco division. Ex. A, at ¶ 12. In contrast, both

parties are located in, and have employees and operations in the Houston division. Therefore, the

jurors in Houston have a clear and direct local interest in this case. See Dkt. 24, at 8-9.

II.    CONCLUSION

       Factors 1-4, and 6 weigh heavily in favor of transfer, and factors 5, 7 and 8 are neutral.

Accordingly, Nine respectfully requests that this case be transferred to the Houston division.




5
 The Fifth Circuit has also never recognized a difference in analysis under Section 1404
between divisions or districts. In re Radmax, 720 F.3d at 288; Cf. Cameron Int’l Corp. v. Nitro
Fluids L.L.C., No. 6:20-cv-00125-ADA, 2020 WL 3259809, at *10 (W.D. Tex. June 16, 2020)



NCS Multistage, Inc. v. Nine Energy Service, Inc. No. 6:20-cv-00277-ADA                           5
        Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 7 of 8
Defendant Nine Energy Service, Inc.’s Reply in Support of Nine’s Motion to Transfer Venue


 Dated: September 4, 2020                     Respectfully submitted,

                                              VINSON & ELKINS LLP

                                              By: /s/ Hilary L. Preston

                                              Hilary L. Preston
                                              Texas Bar No. 24062946
                                              hpreston@velaw.com
                                              VINSON & ELKINS LLP
                                              2801 Via Fortuna, Suite 100
                                              Austin, TX 78746
                                              Telephone: +1.512.542.8400
                                              Fax: +1.512.542.8612

                                              Parker D. Hancock
                                              Texas Bar No. 24108256
                                              phancock@velaw.com
                                              Sean P. Belding
                                              Texas Bar No. 24109634
                                              sbelding@velaw.com
                                              VINSON & ELKINS LLP
                                              1001 Fannin Street, Suite 2500
                                              Houston, TX 77002-6760
                                              Telephone: +1.713.758.2222
                                              Fax: +1.713.758.2346




NCS Multistage, Inc. v. Nine Energy Service, Inc. No. 6:20-cv-00277-ADA                     6
        Case 6:20-cv-00277-ADA Document 30 Filed 09/04/20 Page 8 of 8
Defendant Nine Energy Service, Inc.’s Reply in Support of Nine’s Motion to Transfer Venue


                               CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of September, 2020, a true and correct copy of the

foregoing document was served on all counsel of record via the Court’s CM/ECF system per Local

Rule CV-5(b)(1).

                                           /s/ Hilary L. Preston
                                           Hilary L. Preston




NCS Multistage, Inc. v. Nine Energy Service, Inc. No. 6:20-cv-00277-ADA                     7
